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                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                               Charlottesville Division

   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, TYLER MAGILL, APRIL
   MUNIZ, HANNAH PEARCE, MARCUS
   MARTIN, NATALIE ROMERO, CHELSEA
   ALVARADO, and JOHN DOE,

                               Plaintiffs,


   JASON KESSLER, RICHARD SPENCER,
   CHRISTOPHER CANTWELL, JAMES
   ALEX FIELDS, JR., VANGUARD
   AMERICA, ANDREW ANGLIN,                               Civil Action No. 3:17-cv-00072-NKM
   MOONBASE HOLDINGS, LLC, ROBERT
   "AZZMADOR" RAY, NATHAN DAMIGO,
   ELLIOT KLINE a/k/a/ ELI MOSLEY,
   IDENTITY EVROPA, MATTHEW
   HEIMBACH, MATTHEW PARROTT a/k/a
   DAVID MATTHEW PARROTT,
   TRADITIONALIST WORKER PARTY,
   MICHAEL HILL, MICHAEL TUBBS,
   LEAGUE OF THE SOUTH, JEFF SCHOEP,
   NATIONAL SOCIALIST MOVEMENT,
   NATIONALIST FRONT, AUGUSTUS SOL
   INVICTUS, FRATERNAL ORDER OF THE
   ALT-KNIGHTS, MICHAEL "ENOCH"
   PEINOVICH, LOYAL WHITE KNIGHTS OF
   THE KU KLUX KLAN, and EAST COAST
   KNIGHTS OF THE KU KLUX KLAN a/k/a
   EAST COAST KNIGHTS OF THE TRUE
   INVISIBLE EMPIRE,

                               Defendants.


      PLAINTIFFS’ MOTION FOR ENTRY OF DEFAULT AGAINST DEFENDANT
                  FRATERNAL ORDER OF THE ALT-KNIGHTS

        Plaintiffs respectfully request that this Court enter default against Defendant Fraternal

  Order of the Alt-Knights (“FOAK”) pursuant to Federal Rule of Civil Procedure 55(a) on the



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  ground that Defendant FOAK has failed to plead or otherwise defend within the time prescribed

  by the Federal Rules of Civil Procedure (“FRCP”) and within the time prescribed by this Court.

          Plaintiffs effected service on Defendant FOAK through service upon the entity’s

   founder, Kyle Chapman (“Chapman”), on December 21, 2017 at Alameda County Superior

   Court, 1225 Fallon Street, Oakland, CA 94612. (ECF 215.) Plaintiffs then mailed Chapman

   the First Amended Complaint on January 5, 2018. (ECF 175.)

          In an order dated January 31, 2018 (“Order”), this Court found that Chapman’s

   numerous filings with the Court on behalf of Defendant FOAK—an “artificial entit[y]”— were

   improper because Chapman is not a licensed attorney.        (ECF 211.)       The Order directed

   Defendant FOAK to retain a licensed attorney to appear in this matter and file a proper

   responsive pleading within fourteen days of entry of the Order, making a response to the First

   Amended Complaint due on February 22, 2018. (ECF 211.)

          More than two weeks have elapsed since the February 22, 2018 deadline, and Defendant

   FOAK has still failed properly to appear in this case. Accordingly, Plaintiffs respectfully ask

   the Court to grant this Motion to Enter Default against Defendant FOAK for failure to plead or

   otherwise defend under FRCP 55(a).



  Dated: March 14, 2018                               Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

         I hereby certify that on March 14, 2018, I filed the foregoing with the Clerk of Court
  through the CM/ECF system, which will send a notice of electronic filing to:

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  Matthew Heimbach, Robert Ray, Traditionalist Worker Party, Elliot Kline, Jason Kessler, Vanguard
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  Pro Se Defendant




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          I further hereby certify that on March 14, 2018, I also served the following non-ECF
  participants, via U.S. mail, First Class and postage prepaid, addressed as follows:

  Loyal White Knights of the Ku Klux Klan        Andrew Anglin
  a/k/a Loyal White Knights Church of            P.O. Box 208
  the Invisible Empire, Inc.                     Worthington, OH 43085
  c/o Chris and Amanda Barker
  P.O. Box 54                                    East Coast Knights of the Ku Klux Klan
  Pelham, NC 27311                               a/k/a East Coast Knights of the
                                                 True Invisible Empire
  Richard Spencer                                26 South Pine St.
  1001-A King Street                             Red Lion, PA 17356
  Alexandria, VA 22314
  -and-                                          Fraternal Order of the Alt-Knights
  P.O. Box 1676                                  c/o Kyle Chapman
  Whitefish, MT 59937                            52 Lycett Circle
                                                 Daly City, CA 94015
  Moonbase Holdings, LLC
  c/o Andrew Anglin                              Augustus Sol Invictus
  P.O. Box 208                                   9823 4th Avenue
  Worthington, OH 43085                          Orlando, FL 32824




                                                    s/ Robert T. Cahill
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